                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION

                                       No. 5:24-CV-498-RJ


 CARLY PATE,                                          )
                                                      )
                         Plaintiff,                   )
 V.                                                   )
                                                      )                 ORDER
 LELAND DUDEK,                                        )
 Acting Commissioner .ofSocial Security,              )
                                                      )
                       Defendant.                     )

       This matter comes before this court on Plaintiff's Motion for Attorney Fees Under the

Equal Access to JusticeAct ("EAJA"), 28 U.S.C. § 2412(d). [DE-22]. Pla,intiff seeks $6,750.00 in

attorney's fees for 29.75 hours of work by her counsel in this matter, and Defendant consents to

an award of the requested fee. Id at 1, 3; [DE-21]. This court finds the award of $6,750.00 in

attorney's fees "reasonable," both with respect to the hourly rate charged and the number of hours

claimed.    See Hyatt v. Barnhart, 315 F.3d 239, 248 (4th Cir. 2002) (quoting 28 U.S.C. §

2412(d)(2)(A)(ii)).

       It is therefore ORDERED that the Commissioner of Social Security pay to Plaintiff the

sum of $6,750.00 in attorney fees, in full satisfaction of any and all claims arising under EAJA, 28

U.S.C. § 2412(d). If the award to Plaintiff is not subject to the Treasury Offset Program, payment

will be made by check payable to Plaintiff's counsel, Charlotte Hall, and mailed to her office at

P.O. Box 58129, Raleigh, NC 27658, in accordance with Plaintiff's assignment to his attorney of

his right to payment of attorney's fees under the EAJA. If the payment is subject to offset, then

any remaining fee will be made payable to Plaintiff and mailed to Plaintiff's counsel's office

address.



           Case 5:24-cv-00498-RJ       Document 23        Filed 02/27/25      Page 1 of 2
SO ORDERED, this "'2 ';J-tlay of February, 2025.


                                           il:d::::P-
                                           United States Magistrate Judge




Case 5:24-cv-00498-RJ        Document 23       Filed 02/27/25    Page 2 of 2
